                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,                              No. 17-CR-2045-LRR

 vs.                                                    REPORT AND
                                                     RECOMMENDATION
 ALSTON RAY CAMBELL, JR.,

         Defendant.
                               ____________________


                              I.     INTRODUCTION

       This matter is before the Court on Alston Ray Campbell, Jr.’s (“defendant”)
Motion to Suppress Title III Wiretap Evidence. (Doc. 115). The Honorable Linda R.
Reade, United States District Court Judge, referred the motion to me for a Report and
Recommendation.
       While investigating a suspected drug trafficking organization, the Government
obtained a series of related wiretaps, some of which authorized the Government to
monitor defendant’s communications.      Defendant initially argued that the evidence
obtained as a result of the wiretaps should be suppressed because the Government failed
to prove that the wiretaps were necessary and because the Government failed to properly
minimize the wiretaps. (Doc. 115-1). Importantly, defendant argued that the entire
wiretap, not just individual communications, should be suppressed because of a pattern
of improper minimization. The Court heard argument on January 17, 2018, at which
time it became apparent that the parties were unprepared to address the minimization




   Case 6:17-cr-02045-CJW-MAR        Document 139      Filed 01/30/18   Page 1 of 9
issue. Therefore, I reserved issuing a Report and Recommendation on the minimization
issue and permitted the parties to submit supplemental briefing on the issue.
       Defendant timely filed his supplemental brief on January 24, 2018 (Doc. 137),
and the Government timely filed its resistance on January 26, 2018. (Doc. 138). In his
supplemental brief, defendant was instructed to identify any intercepted communications
that he contends were improperly minimized that also contained incriminating
information; however, defendant did not identify any such statements. Therefore, I will
assume that none of the statements that were obtained as a result of allegedly improper
minimization were of an incriminating nature. Given the nature of the issue currently
before me and the binding precedent implicated, I find that a hearing on the minimization
issue is unnecessary. To the extent a request for oral argument on the minimization issue
exists, that request is denied.

                                  II.   BACKGROUND

       I previously engaged in a discussion of the factual background of this case and will
not repeat that discussion here. (See Doc. 135, at 2-9). I will, however, supplement that
discussion. Each of the wiretaps at issue included instructions on minimization, and
Officer Bryan Furman testified as to the steps that were taken to minimize interceptions
of irrelevant communications.
       Officer Furman testified that before the monitoring began, Officer Furman and the
taint team received instruction from an Assistant United States Attorney on how to
properly minimize communications in accordance with the wiretaps. These meetings
were repeated each time a new wiretap was issued.
       Officer Furman testified that when a communication was first intercepted in this
case, whether that communication was a text message or a telephone call, it was reviewed
in real time by a taint team in a remote location. If the taint team conducting this initial




                                             2
   Case 6:17-cr-02045-CJW-MAR           Document 139      Filed 01/30/18    Page 2 of 9
review determined that the communication was not relevant, investigators would not have
access to the communication. If a phone call was deemed irrelevant, the taint team would
stop listening to the call, and the call would not be recorded. If the taint team believed
the call could be relevant to the investigation, investigators were given the ability to listen
to the call. In listening to such a phone call, the investigator listening to the call would
first determine whether the subjects of the call were discussing information relevant to
the investigation. If they were not, the investigator would stop listening to the call and
instead would spot check the call to determine if the conversation shifted from innocent
communications to the subject of the investigation. If the conversation had not shifted,
the investigator would again stop listening and would continue spot checking. Officer
Furman stated that as the investigation proceeded, investigators learned more about
suspects’ phone habits and became more adept at determining whether a call was relevant
to the investigation. As a result, irrelevant calls were minimized at a higher percentage
as the investigation proceeded than they were toward the beginning of the investigation.
       Text messages were treated slightly differently because when a text message is
intercepted, all of the information contained in the text message is received by the taint
team at the same time. As a result, the taint team could not minimize their review of the
message to the same extent they could minimize an irrelevant phone call by simply not
listening. If a text message was deemed irrelevant, however, it was not passed along to
investigators and investigators did not have access to it. As with phone calls, the taint
team and investigators became more knowledgeable about the suspected drug trafficking
organization’s coded language over time and were, therefore, able to refine their
interceptions. Line sheets were kept as records of all of the communications investigators
had access to, regardless of whether those communications were ultimately deemed
relevant.




                                              3
   Case 6:17-cr-02045-CJW-MAR           Document 139        Filed 01/30/18    Page 3 of 9
      On January 17, 2018, I held an evidentiary hearing on defendant’s motion. That
morning, defendant produced to the Government and me a binder with hundreds of
telephone calls and texts he alleged were improperly minimized. None of these phone
calls contained incriminating statements.

                                   III.     ANALYSIS

      The federal wiretap statute requires that interceptions must “be conducted in such
a way as to minimize the interception of communications not otherwise subject to
interception.”   28 U.S.C. § 2518.        Defendant contends that the remedy should be
complete suppression of the evidence obtained, not just suppression of those
communications that were improperly minimized. Defendant would have me recommend
that the Court hold that the Eighth Circuit is an outlier with respect to the remedy
provided when a wiretap is improperly minimized. I am, however, bound by the Eighth
Circuit Court of Appeals, as is the District Court. As a result, my recommendation must
follow the current law of the Eighth Circuit.
      The Eighth Circuit has spoken on the issue directly implicated in this case:
             [E]ven if the surveillance in this case did reflect a failure to
      minimize, it would not follow that Congress intended that as a consequence
      all the evidence obtained should be suppressed. Quite the contrary, 18
      U.S.C. § 2517 manifests an intent to utilize all the evidence obtained by
      eavesdropping, and § 2517(5) expressly permits the use in court of evidence
      obtained by wiretap of a crime other than the crime upon which the court
      order was premised. Clearly Congress did not intend that evidence directly
      within the ambit of a lawful order should be suppressed because the officers,
      while awaiting the incriminating evidence, also gathered extraneous
      conversations. The nonincriminating evidence could be suppressed
      pursuant to 18 U.S.C. § 2518(10)(a), but the conversations the warrant
      contemplated overhearing would be admitted. If appellants, and the
      unindicted persons whose conversations were overheard, have any remedy
      under Title III other than the suppression of conversations outside the




                                             4
   Case 6:17-cr-02045-CJW-MAR         Document 139      Filed 01/30/18    Page 4 of 9
       warrant’s scope, it lies in § 2520 as a civil suit against the investigating
       officers alleging that they exceeded their authority.

United States v. Cox, 462 F.2d 1293, 1301-02 (8th Cir. 1972) (emphasis in original)
(footnote and citations omitted); accord United States v. Ozar, 50 F.3d 1440, 1448 (8th
Cir. 1995). In the Eighth Circuit, only individual communications that were improperly
minimized are subject to suppression. Cox, 462 F.2d at 1301-02.
       Defendant argues that “the Eighth Circuit’s suppression analysis is wholly
inconsistent and in logical conflict with the legislative intent.” (Doc. 137, at 10). To
support this argument, defendant cites a law review article, Clifford S. Fishman, The
Minimization Requirement in Electronic Surveillance: Title III, the Fourth Amendment,
and the Dread Scott Decision, 28 AM. U. L.REV. 315, 316 (1979). Defendant further
argues that “[t]he Eighth Circuit has long been isolated on one end of the spectrum from
other jurisdictions.” (Doc. 137, at 6). In support of this argument, defendant cites two
district court decisions from other districts and one decision from the Second Circuit
Court of Appeals: United States v. Simels, No. 08-CR-640 (JG), 2009 WL 1924746, at
*6 (E.D.N.Y. 2009); United States v. Focarile, 340 F. Supp. 1033, 1047 (D. Md. 1972)
(which defendant asserts was later affirmed by the Fourth Circuit Court of Appeals);
United States v. Principie, 531 F.2d 1132,1 1140 (2d Cir. 1976). (Doc. 137, at 7-9).
       In the law review article defendant cites, the author argues that “it hardly benefits
the accused if the judge suppresses only those conversations that the prosecutor had no
intention of using against him” but does not suppress incriminating statements in
improperly minimized calls. Fishman, 28 AM. U. L. REV. at 351-52. The author points
out that other courts have held that “[w]here monitors blatantly disregard the
minimization provision, all conversations, pertinent as well as nonpertinent, must be

1
 Both defendant and the government incorrectly cite this decision as beginning on page 1131,
as opposed to page 1132.



                                             5
    Case 6:17-cr-02045-CJW-MAR         Document 139       Filed 01/30/18    Page 5 of 9
suppressed.” Id., at 352. The only cases the author cites to support this proposition,
however, are two state court decisions. Id., at 352 n. 214. In any event, there has been
no showing in this case that the agents blatantly disregarded the minimization
requirements; to the contrary, I find, based on the evidence before me, that the agents
were fully informed of the requirement, were properly instructed on how to comply, and
took reasonable efforts to do so.
      The cases defendant cites do not support his position.              Simels is easily
distinguishable. In that case, “[t]he failure to monitor in this case was total, as the
intercepting agents ‘put down their headphones’ as soon as recording began.” 2009 WL
1924746, at *14. That was not the case here. The language defendant relies on in
Focarile is dictum; the Court opined that total suppression could be appropriate, but
found there that the minimization was appropriate. Focarile, 340 F. Supp. at 1044-50.
The district court did suppress the wiretap evidence for other reasons, however, and it is
on that basis, and not on the issue of minimization, that the Fourth Circuit Court of
Appeals affirmed the district court. See United States v. Giordano, 473 F.2d 906 (4th
Cir. 1973); United States v. Giordano, 469 F.2d 522 (4th Cir. 1972). Finally, the Court
in Principie, discussed Focarile, but rejected the remedy of total suppression and held
that “only those conversations which were seized in violation of the time limitation in the
order had to be suppressed.” 531 F.2d at 1141.
      Defendant cites other decisions from the 1970s by other courts not binding on this
Court for the proposition that there is a “hybrid approach,” whereby courts suppress the
entire wiretap where there is “flagrant disregard” of the minimization requirements, but
only suppress individual interceptions where only “isolated instances” of the failure to
minimize can be found. (Doc. 137, at 9). Again, defendant’s cited authorities do not
support his position. In United States v. Santora, the court found the district court did
not err in failing to order an evidentiary hearing on defendant’s claim that the government




                                            6
   Case 6:17-cr-02045-CJW-MAR          Document 139      Filed 01/30/18    Page 6 of 9
failed to properly minimize the interceptions where the “district court found that the
agents had acted in good faith and in exercise of ordinary care and judgment in trying to
minimize the interceptions.”     600 F.2d 1317, 1320 (9th Cir. 1979).          There is no
discussion in Santora about suppression of the entire wiretap evidence. In United States
v. Hyde, the court held that “the minimization requirements of both Federal and Florida
law were fully met by the conduct of the agents in this case;” again, there is no discussion
in this case about suppression of the entire wiretap as a result of failing to minimize
properly. 574 F.2d 856, 870 (5th Cir. 1978). In United States v. Turner, the court stated
in dictum that “[i]n a case where it is clear that the minimization provision of the order
was disregarded by the Government throughout the period covered by the order, a total
suppression might well be appropriate,” but found no such disregard in that case. 528
F.2d 143, 156 (9th Cir. 1975). In United States v. Webster, the court cites the Eighth
Circuit’s decision in Cox with favor and rejects the proposition that the entire wiretap
should be suppressed, at least when there is “no evidence that the officers conducting the
interception failed to comply with the general minimization requirements . . ..” 473 F.
Supp. 586, 598 (D. Md. 1979).
        In short, defendant has not cited a single decision where a court has suppressed an
entire wiretap based on a failure to properly minimize the interception of communication.
At most, defendant has cited dicta, nothing more, to support that position. I, too, could
contemplate a situation wherein investigators so flagrantly disregarded the dictates of a
minimization order that the entire wiretap should be suppressed. That is not the case
here.    In this case, investigators diligently attempted to minimize all irrelevant
communications. A taint team was established, irrelevant communications were not
recorded, spot checking was utilized, and both investigators and the taint team narrowed
the scope of those calls that were recorded as the investigation progressed. Put simply,
the evidence before me shows that minimization procedures were properly followed.




                                             7
   Case 6:17-cr-02045-CJW-MAR          Document 139       Filed 01/30/18    Page 7 of 9
Thus, although it is possible that a case could arise that would justify complete
suppression of a wiretap, this is not that case.
       The last issue before me, then, is whether the court should suppress any individual
communications. Defendant does not seek to suppress nonincriminating communications,
nor would there be any reason to do so. Such communications would not prejudice
defendant and the government would gain nothing by offering nonincriminating,
irrelevant communications.       Defendant has failed to identify any incriminating
communications that defendant alleges were improperly minimized and should, therefore,
be suppressed. Defendant bears the burden of proof in persuading the Court to grant his
motion to suppress. Rakas v. Illinois, 439 U.S. 128, 130 n.1 (1978). Where a defendant
has failed to identify the communications he seeks to have suppressed, he cannot be said
to have met his burden of proof.        Here, defendant has not identified any specific
communications he would have this Court suppress. Therefore, I recommend that the
District Court deny defendant’s motion in its entirety.

                                  IV.    CONCLUSION

       For the reasons stated, I respectfully recommend that the District Court deny
defendant’s motion to suppress as to the minimization issue.
       Objections to this Report and Recommendation in accordance with 28 U.S.C.
' 636(b)(1) and FED. R. CRIM. P. 59(b) must be filed within fourteen (14) days of the
service of a copy of this Report and Recommendation. Objections must specify the parts
of the Report and Recommendation to which objections are made, as well as the parts of
the record forming the basis for the objections. See FED. R. CRIM. P. 59. Failure to
object to the Report and Recommendation waives the right to de novo review by the
district court of any portion of the Report and Recommendation as well as the right to




                                             8
   Case 6:17-cr-02045-CJW-MAR           Document 139      Filed 01/30/18   Page 8 of 9
appeal from the findings of fact contained therein. United States v. Wise, 588 F.3d 531,
537 n.5 (8th Cir. 2009).
      IT IS SO ORDERED this 30th day of January, 2018.




                                        __________________________________
                                        C.J. Williams
                                        Chief United States Magistrate Judge
                                        Northern District of Iowa




                                           9
   Case 6:17-cr-02045-CJW-MAR        Document 139      Filed 01/30/18    Page 9 of 9
